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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                       IN THE UNITED STATES DISTRICT COURT                           May 20, 2020
                       FOR THE SOUTHERN DISTRICT OF TEXAS                         David J. Bradley, Clerk
                                 HOUSTON DIVISION

RONALD JEFFERY PRIBLE,                        §
    Petitioner,                               §
                                              §
v.                                            §                         H-09-CV-1896
                                              §
LORIE DAVIS, Director,                        §
Texas Department of Criminal Justice,         §
Correctional Institutions Division,           §
       Respondent.                            §

                                     FINAL JUDGMENT

       For the reasons set forth in the Memorandum Opinion and Order of May 20, 2020, Ronald

Jeffery Prible’s Petition for Writ of Habeas Corpus is CONDITIONALLY GRANTED. A writ

of habeas corpus shall issue unless, within 180 days, the State of Texas either begins new

proceedings against Prible or releases him from custody. The Court DENIES certification of any

issue for appellate consideration.

       This is a final judgment.

       SIGNED at Houston, Texas, on this 20th day of May, 2020.




                                           HON. KEITH P. ELLISON
                                           UNITED STATES DISTRICT JUDGE




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